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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :                 10/21/2020
NAM YOUNG CHO,                                                         :
                                                                       :
                                    Plaintiff,                         :
                                                                       :      20-CV-2990 (JPC)
                  -v-                                                  :
                                                                       :   NOTICE OF ASSIGNMENT
LARRY R. HOLZBERG,                                                     :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan.

        This action was removed from the Supreme Court of the State of New York, Bronx County

on April 13, 2020. To date, Plaintiff has not appeared in the action. Plaintiff’s counsel is directed

to promptly file a notice of appearance in this case, and in any event no later than November 25,

2020. Failure to do so will result in dismissal of the complaint for failure to prosecute pursuant to

Rule 41(b) of the Federal Rules of Civil Procedure. The Defendant is hereby directed to serve a

copy of this order on Plaintiff and to file proof of service by no later than November 4, 2020.

        In accordance with the Court’s Individual Rules and Practices for Civil Cases, requests for

extensions or adjournment may be made only by letter-motion filed on ECF and must be received

at least 48 hours (i.e., two business days) before the deadline or scheduled appearance, absent

compelling circumstances. The written submission must state (1) the original date(s) set for the

appearance or deadline(s) and the new date(s) requested; (2) the reason(s) for the request; (3) the

number of previous requests for adjournment or extension; (4) whether these previous requests
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were granted or denied; and (5) whether opposing counsel consents, and, if not, the reasons given

by opposing counsel for refusing to consent.

       SO ORDERED.

Dated: October 21, 2020                            __________________________________
       New York, New York                                   JOHN P. CRONAN
                                                          United States District Judge




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